         Case 22-60043 Document 395 Filed in TXSB on 01/19/23 Page 1 of 5




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                                §   Chapter 11 (Subchapter V)
                                                      §
FREE SPEECH SYSTEMS, LLC,                             §   Case No. 22-60043
                                                      §
         Debtor.                                      §
---------------------------------------------------   §
In re:                                                §
                                                      §
ALEXANDER E. JONES,                                   §   Case No. 22-33553
                                                      §
         Debtor.                                      §

                           AGENDA FOR HEARING
          SCHEDULED FOR JANUARY 20, 2023, AT 11:00 A.M. (PREVAILING
         CENTRAL TIME), BEFORE JUIDGE LOPEZ AT THE UNITED STATES
         BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF TEXAS,
          AT COURTROOM 401, 515 RUSK STREET, HOUSTON, TEXAS 77002

 Audio communication will be by use of the Court’s dial-in facility. You may access the
 facility at (832)-917-1510. Once connected, you will be asked to enter the conference room
 number. Judge Lopez’s conference room number is 590153. Video communication will
 be by use of the GoToMeeting platform. Connect via the free GoToMeeting application
 or click the link on Judge Lopez’s home page. The meeting code is “JudgeLopez”. Click
 the settings icon in the upper right corner and enter your name under the personal
 information setting.

 Hearing appearances must be made electronically in advance of both electronic and in-
 person hearings. To make your appearance, click the “Electronic Appearance” link on
 Judge Lopez’s home page. Select the case name, complete the required fields and click
 “Submit” to complete your appearance.

         Alexander E. Jones (“Jones” or “Debtor”), debtor and debtor-in-possession in the above-

referenced Chapter 11 case, hereby files this agenda for matters set for hearing on January 20,

2023, at 11:00 a.m. (prevailing Central Time).

Employment of Bankruptcy Counsel

      1.    Application for Entry of an Order Authorizing the Retention and Employment of
Crowe & Dunlevy, P.C. as Debtor’s Co-Counsel Effective as of the Petition Date [Dkt. No. 69].



AGENDA FOR HEARING SCHEDULED FOR JANUARY 20, 2023 -                                     PAGE 1
       Case 22-60043 Document 395 Filed in TXSB on 01/19/23 Page 2 of 5



          Related documents:

          a. Notice of Hearing [Dkt. No. 76]

          b. Supplemental Declaration of Vickie L. Driver in Support of Application for Entry
             of an Order Authorizing the Retention and Employment of Crowe & Dunlevy, P.C.
             as Debtor’s Co-Counsel [Dkt. No. 89].

          Status:

          Going forward. Comments from UST and UCC incorporated into revised proposed
          order filed at Docket No. 98.

       2.     Application for Entry of an Order Authorizing the Retention and Employment of
Jordan & Ortiz, P.C. as Debtor Co-Counsel Effective as of the Petition Date [Dkt. No. 71].

          Related documents:

          a. Notice of Hearing [Dkt. No. 76]

          b. Supplemental Declaration of Shelby A. Jordan in Support of the Application for
             Entry of an Order Authorizing the Retention and Employment of Jordan & Ortiz,
             P.C. as Debtor Co-Counsel Effective as of the Petition Date [Dkt. No. 90].

          Status:

          Going forward. Comments from UST and UCC incorporated into revised proposed
          order filed at Docket No. 99.

Utility Companies

        3.     Debtor’s Emergency Motion for Order Under 11 U.S.C. §§ 105(A) and 366 (I)
Prohibiting Utility Companies from Altering or Discontinuing Service on Account of Prepetition
Invoices, (II) Approving Deposit Account as Adequate Assurance of Payment, and (iii)
Establishing Procedures for Resolving Requests by Utility Companies for Additional Assurance
of Payment (“Utility Motion”) [Dkt. No. 70].

          Related documents:

          a. Notice of Hearing [Dkt. No. 76]

          b. Exhibit A to Utility Motion

          Status:

          Going forward. Comments from UCC incorporated into revised proposed order filed at
          Docket No. 100. No comments from UST.


AGENDA FOR HEARING SCHEDULED FOR JANUARY 20, 2023 -                                   PAGE 2
       Case 22-60043 Document 395 Filed in TXSB on 01/19/23 Page 3 of 5




Interim Compensation Procedures

     4.      Debtor’s Motion for entry of an Order Establishing Procedures for Interim
Compensation and Reimbursement of Expenses for Retained Professionals [Dkt. No. 74].

          Related documents:

          a. Notice of Hearing [Dkt. No. 76]

          Status:
         Going forward. Comments from UST and UCC incorporated into revised proposed
         order filed at Docket No. 101.
FSS –Motion to Fix a Date by Which a Debtor Must Assume or Reject Executory Contract

   1. Alexander E. Jones’ Motion to Fix a Date by Which a Debtor Must Assume or Reject
      Executory Contract [FSS Dkt. No. 349].

          Related documents:

          a. Debtor and Sub V Trustee’s Joint Limited Objection to Emergency Motion of
             Alexander E. Jones to Fix a Date by Which a Debtor Must Assume or Reject
             Executory Contract [Dkt. No. 380 in FSS Case]

          Status:

          Going forward. Parties are negotiating proposed revised order setting deadline at 90
          days with ability to extend.


Additional Employment Applications Not Set for Hearing on January 20, 2023; filed on
negative notice:

   1. Application for Entry of an Order Authorizing the Retention and Employment of Blackbriar
      Advisors LLC as Financial Advisor to the Debtor Effective as of the Petition Date [Dkt.
      82]. Filed 12/29/22

   2. Application of Debtor in Possession for an Order Authorizing the Employment of Rachel
      Kennerly, LLC as Tax Accountant for Debtor Nunc Pro Tunc [Dkt. No. 83]. Filed 12/30/22




AGENDA FOR HEARING SCHEDULED FOR JANUARY 20, 2023 -                                   PAGE 3
       Case 22-60043 Document 395 Filed in TXSB on 01/19/23 Page 4 of 5




Dated: January 19, 2023.

                                         CROWE & DUNLEVY, P.C.

                                         By: /s/ Christina W. Stephenson
                                         Vickie L. Driver
                                         State Bar No. 24026886
                                         Christina W. Stephenson
                                         State Bar No. 24049535
                                         2525 McKinnon St., Suite 425
                                         Dallas, TX 75201
                                         Telephone: 737.218.6187
                                         Email: dallaseservice@crowedunlevy.com

                                         -and-

                                         Shelby A. Jordan
                                         State Bar No. 11016700
                                         S.D. No. 2195
                                         Antonio Ortiz
                                         State Bar No. 24074839
                                         S.D. No. 1127322
                                         JORDAN & ORTIZ, P.C.
                                         500 North Shoreline Blvd., Suite 900
                                         Corpus Christi, TX 78401
                                         Telephone: (361) 884-5678
                                         Facsimile: (361) 888-5555
                                         Email: sjordan@jhwclaw.com
                                                aortiz@jhwclaw.com
                                         Copy to: cmadden@jhwclaw.com

                                         PROPOSED   ATTORNEYS      FOR
                                         DEBTOR ALEXANDER E. JONES




AGENDA FOR HEARING SCHEDULED FOR JANUARY 20, 2023 -                             PAGE 4
        Case 22-60043 Document 395 Filed in TXSB on 01/19/23 Page 5 of 5




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleading was served upon all
parties registered to receive notices via the Court’s ECF noticing system on this 19th day of
January, 2023.

                                                     /s/ Christina W. Stephenson
                                                     Christina W. Stephenson




AGENDA FOR HEARING SCHEDULED FOR JANUARY 20, 2023 -                                        PAGE 5
